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AO 91 (Rev . 11/11 ) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Middle District of Florida

                   United States of America                       )
                                 V.                               )
                                                                  )
                                                                  )
                     DEONTE M. BAKER
                                                                  )
                                                                  )
                                                                  )
                            Defendant(s)


                                                CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 December 22, 2016             in the county of             Pinellas            in the

        Middle           District of _ _ _F_l_
                                             or_id_a_ _ _ , the defendant(s) violated:

              Code Section                                                  Offense Description
 18 U.S.C. § 1956(h), 18 U.S.C. §              Money laundering; promoting unlawful activity.
 1956(a)(1 )(A)(i), and 1956(a)(1 )(B)
 (i).

 21 U.S.C. § 846                               Conspiracy to distribute cocaine




           This criminal complaint is based on these facts:
            See attached Affidavit.




            it Continued on the attached sheet.


                                                                                     Christian Daley, Special Agent IRS
                                                                                            Printed name and title


  Sworn to before me and signed in my presence.


  Date:    £17
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                                           Tampa, FL                              JULIES. SNEED, U.S. Magistrate Judge
  City and state:
                                                                                             Printed name and title
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                          AFFIDAVIT IN SUPPORT OF
                 CRIMINAL COMPLAINT AND ARREST WARRANTS


       1.     I, CHRISTIAN DALEY (herein "affiant"), Special Agent, Internal Revenue
Service, Criminal Investigation, United States Treasury Department, being duly sworn,
depose and state as follows:
   Your affiant makes this affidavit in support of an application for issuance of an arrest
warrant for DEONTE M. BAKER for conspiracy to commit violations of 18 U.S.C.
§§1956(a)(1)(A)(i) and 1956(a)(1)(B)(i), in violation of 18 U.S.C. § 1959(h); and
conspiracy to distribute cocaine, in violation of 21 U.S.C. § 846.


                      TRAINING AND EXPERIENCE OF AFFIANT


       2.     Your affiant has been employed as a special agent for the Internal
Revenue Service ("IRS"), Criminal Investigation since July 2000. Your affiant is trained
in financial investigative techniques and accounting, and has conducted and
participated in dozens of investigations of possible criminal violations of the Internal
Revenue laws and related offenses, particularly those laws contained in the Internal
Revenue Code (Title 26, United States Code) and violations relative to money
laundering (Title18, United States Code and Title 31, United States Code).


       3.     Your affiant has attended the Criminal Investigator Training Program and
IRS Special Agent Basic Training at the Federal Law Enforcement Training Center,
located in Brunswick, Georgia, which encompassed detailed training in conducting
financial investigations. Prior to becoming an IRS Special Agent, your affiant was
employed as a staff accountant. Your affiant received a Bachelor of Science Degree in
Business Administration, concentrating in Accounting and Finance, from Salem State
College, Salem, Massachusetts.


       4.     From training and experience, your affiant knows that it is a violation of 18
U.S.C. §1956(h), for two or more people to conspire to commit any offense under 18
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U.S.C. §§ 1956 or 1957. Your affiant has reason to believe that BAKER conspired with
others, mainly RB., M.H., T.P., and K.H., to commit violations of 18 U.S.C. §§
1956(a)(1 )(A)(i) and 1956(a)(1 )(B)(i), by trying to conceal the true nature and purpose in
financial transactions for the purpose of obtaining cocaine and other illegal drugs.


       5.     The information in this affidavit is either personally known to your affiant or
has been provided to your affiant by other law enforcement officers and/or is based on a
review of various documents and records more particularly described herein.


                                          FACTS
       6.     On December 22, 2016, detectives with the St. Petersburg FL Police
Department ("SPPD") were dispatched to an address where a half-dressed female was
found to be unresponsive. The female was declared dead at the site, and SPPD initially
investigated the death as a potential homicide. Detectives with SPPD went to the
address on record for the deceased, which was located in Palm Harbor, FL. That is
where the detectives met R.B. for the first time.


       7.     RB. informed the detectives that he had known the deceased for only a
couple of months and had initially met her by answering her "Backpage Escort ad". He
stated that he and the deceased would have sex frequently and RB. would pay her, but
she did not live with him. R.B. also stated that BAKER would visit R.B. frequently, but
initially claimed that BAKER did not live there either.


       8.     BAKER voluntarily agreed to be interviewed by SPPD detectives on
December 23, 2016, at the police station. He stated that he has known RB. for
approximately 10 years. BAKER stated that he and R.B. "met through drugs". BAKER
stated that he and his girlfriend K.H. lived at R.8.'s home and their room was on the
other side of R.B.'s home in Palm Harbor, FL. BAKER also stated that the deceased
had been living with R. B. for the past few months and they had met through Backpage.
At the time of the interview, BAKER claimed that he was not living with R.B. anymore




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                because he did not trust some of the people R.B. had coming to house, but BAKER was
                still visiting R. B. every day at the Palm Harbor, FL address.


                        9.       BAKER also stated to the detectives at this time, that he frequently
                brought drugs, crack cocaine and marijuana, to the house for RB. and the deceased to
                use. He stated that the deceased also used Dilaudid, but he didn't have access to that
                drug. He stated that the deceased was having other dealers bring it to the house, and
                that was why he had been staying away.


                        10.      On December 23, 2016, SPPD detectives were met by T.P. at the police
                station. T.P. is a girlfriend of BAKER and also the mother of one of his children.
                According to the SPPD detectives, while they were investigating the circumstances of
                the homicide, T.P. was inconsistent with her statements and it did not appear she was
                truthful with her answers. When asked who was in the car with her on the evening of
                December 22, 2016 (up at R.B.'s house) she advised she was a passenger and did not
                know who was in the car with her. They asked how she didn't know this, and she just
                advised she was on her phone. She stated that she did not know what BAKER did with
                his time, because she did not get involved with his business. T.P. was asked if she had
                any medical or mental issues that would make her forget, but she said no.


                         11.     On December 23, 2016, SPPD detectives interviewed K.H. at her hair
                salon in St. Petersburg, FL. K.H. stated that she knew the deceased personally. K.H.
                stated that she has known RB. for years and that she and her boyfriend, BAKER, lived
                in R.B.'s house is a separate bedroom on the other side of the house from R.B.'s room.
                K.H . stated that she and BAKER stayed at R.B.'s house for months and the last time
                she had been there was on December 18, 2016, with BAKER, to retrieve some personal
                belongings. She stated that when she and BAKER left, K.H. left in her Mercedes Benz
                and BAKER drove his BMW 750 series sedan.


                         12.     SPPD detectives obtained RB.'s account information from Wells Fargo
                Bank and BB&T Bank. It revealed that dozens of R.B.'s checks were payable to



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                BAKER, T.P., K.H., and M.H. An analysis through approximately February 2017
                showed that $334,640 had been paid to M.H., T.P. K.H., and BAKER. When initially
                asked what these payments were for, all four individuals stated it was for "cleaning and
                organizing" R.B.'s house. These checks ranged in amounts from $200 - $5,800.
                Many of checks were negotiated and dated just a few days apart.


                        13.    BAKER cashed checks payable to himself from March 2013 through April
                2016. Over 100 checks were cashed by him alone in a three-year period.


                        14.    On December 12, 2017, SPPD detectives executed a State of Florida
               search warrant for R.B.'s residence, as well as arrest warrants for BAKER, K.H. and
               T.P. M.H. was arrested by SPPD on probable cause after her interview with a SPPD
               detective and your affiant. M.H. was employed as a corrections officer for the State of
               Florida Department of Juvenile Justice ("DJJ"). There are bank surveillance videos
               showing M.H. in her uniform cashing the checks described in paragraph 12 above.


                        15.    On December 12, 2017, your affiant and a SPPD detective interviewed
               M.H. Initially, she told your affiant that BAKER was her boyfriend and they had a child
               together. She received checks from R.B. for cleaning his house.                She eventually
               admitted to your affiant that she knew the checks payable to her were for BAKER to use
               to buy drugs for R.B. She stated to your affiant that she was deliberately ignorant at
               first. She even admitted to purchasing disposable cell phones and renting vehicles for
               BAKER in her name with some of the funds she received. M.H. cashed checks payable
               to herself ranging from $400 - $5,000 from June 2016 through February 2017.


                       16.     On December 12, 2017, your affiant and a SPPD detective interviewed
               K.H. She was read her rights and signed a Miranda waiver form from the SPPD
               detective as she was under arrest for State of Florida violations and was in custody.
               K.H. initially denied knowing anything about BAKER using her as a nominee. K.H.
               eventually admitted, after being shown bank surveillance footage of her and BAKER




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           depositing cash from the checks received from R.B. payable to K.H. into bank accounts
           she controlled, that BAKER used her as a nominee. She also admitted that she knew
           BAKER was a drug dealer and was supplying drugs to R.B.


                            17.               K.H. further admitted that BAKER approached her about having the
           checks payable to her because he had so many checks already made payable to him.
           Surprisingly, K.H. even stated to your affiant and the SPPD detective that she and "her
           mother researched money laundering and what it is".


                           18.                On December 12, 2017, your affiant and a SPPD detective interviewed
           BAKER. He was read his rights and signed a Miranda waiver form for another SPPD
           detective. BAKER admitted to your affiant that he is a drug dealer and basically R.B.
           was his only customer.                                             BAKER admitted to not having any legal source of income and
           that all of his money came from selling drugs. BAKER admitted to recruiting his
           girlfriends, M.H., K.H. and T.P, to cash checks from R.B. so BAKER could get the drugs
           for R.B. BAKER stated that the drugs were mostly cocaine and some marijuana.
           BAKER also stated to your affiant that he would ask his girlfriends to buy disposable
           phones and rent cars in their names so he could purchase the drugs and be able to
           deliver them to R.B.


                           19.               On December 12, 2017, RB. was interviewed by SPPD detectives while
           they conducted a State of Florida search warrant. R.B stated BAKER supplied
           whatever drugs R.B. needed. R.B advised he would pay for the drugs by writing checks
           to BAKER or one of his girlfriends (K.H, M.H, TP, and others). He understood when he
           wrote a check to one of them, it was ultimately going to BAKER for drugs to be
           delivered to R. B.


                           20.               Additionally, on December 12, 2017, SPPD detectives seized, per consent
           from R.B., a check register and carbon copies of additional checks paid to K.H ., M.H.,
           T.P. and others with dates after February 2017. Because your affiant has not yet
           received official records for the checks, your affiant has not included them in this



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affidavit as a violation amount, but your affiant believes the money laundering violation
amount will increase and most likely exceed $400,000-$500,000.


      21.    On December 12, 2017, SPPD detectives arrested M.H. and K.H. for state
money laundering violations and RB and BAKER were arrested for various other state
violations. T.P. was arrested a short time later for money laundering.


      22.    In early 2018, the State of Florida decided to "no-file" the money
laundering charges, but did file some charges against BAKER and RB. BAKER
currently has one misdemeanor charge pending, and RB. has one felony and one
misdemeanor charge pending in Pinellas County Florida.


                                      Conclusion
      23.    Based upon all the foregoing, your affiant respectfully requests that a
warrant be issued for the arrest of DEONTE BAKER, for violations of 18 U.S.C.
§ 1956(h); and 21 U.S.C. § 846.


      This completes my affidavit.

                                                   ristian Daley, Special A,..d   ,ru:.--'

                                                Internal Revenue Servic
                                                Criminal Investigation

Sworn to and subscribed before me
This / -, day of May, 2018




JU I S. SNEED
U · ed States Magistrate Judge




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